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                                                   EXHIBIT 1
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                 REAL ESTATE OPTION TO PURCHASE AGREEMENT


       THIS REAL ESTATE OPTION TO PURCHASE AGREEMENT ("Agreement") is
executed effective as of the 30th day of December, 2010 ("Effective Date"), by and between
MURPHY LAND COMPANY, LLC, an Idaho Limited Liability Company ("Seller"), and JAMES c.
HILLIARD ('·'Buyer").

                                            RECITALS:

         WHEREAS, Seller represents that they own that certain real property in fee simple
absolute situated in Owyhee County, Idaho, which real property is known as the Crystal Springs
Farm and is more particularly described in E:?iliibit "A,; attached hereto and made a part hereof
TOGETHER WITH all of Seller's right, title and interest, if any, in all appurtenances, privileges,
easements, franchises, and tenements of the foregoing described property, including all mineral
rights, rights to hydrocarbons and other commercially valuable substances in , under or produced
from the property, all air rights, water, water rights (whether ground or surface rights) and all
water permits and licenses issued· for the property or for which the property is entitled to be
issued and any shares of any water or canal company providing water to the property
(collectively the "Property"); and

            WHEREAS, Seller is purch&Sing the subject property (the "Initial Sale") from Buyer
  subject to this agreement. Seller and Buyer desire to enter into a real estate option to purchase
  agreement whereby Seller grants to Buyer the exclusive option to purchase all right, title and
  i.p,t.~~st in and to the Property described above, all upon the terms and conditions and for the
. consideration set forth herein.

       NOW THEREFORE, in consideration of the mutual covenants of Seller and Buyer
contained herein, and other good and valuable consideration, it is agreed as follows:

                                           AGREEMENT

       Section 1.        Purposes. Seller hereby grants exclusively to Buyer an Option to
Purchase all right, title and interest in and to the Property. Prior to the exercise of the option, this
Agreement shall constitute an option with respect to the Property. Upon exercise of the Option,
this Agreement will, without further act, be converted to a purchase agreement with respect to
the Property.

       Section 2~     Term. This Agreement shall commence on the Effective ·Date and
continue for a "Term" of six (6) years.

        Section 3.   Option Consideration. Seller has concurrently herewith purchased the
Property from Buyer herein and as partial consideration for such purchase the Seller agreed to
grant Buyer the option to purchase the Property back from Seller on the terms provided for
herein.




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       Section 4.      Option to Purchase. Seller hereby grants to Buyer the exclusive right
and Option to Purchase all right, title and mterest m and to the Property for, and only for, the
location of a nuclear power plant facility. Buyer may exercise its Option to Purchase at any time
during the Term by giving at least sixty (60) days advance written notice to Seller at Seller's
address provided herein of its intent of such exercise ("Notice").

        Section 5.     Purchase Price. If this option is exercised during the first three (3) years
of its Term, the total Purchase Price for the Property shall be Eleven Million Four Hundred
Thousand andNo/100 Dollars ($11,400,000.00), and if exercised during the final three (3) years
of this Option to Purchase the Purchase Price shall be Thirteen Million Six Hundred Eighty
Thousand and No/100 Dollars ($13,680,000.00); provided, however, that in the event that Buyer,
during the Term of this Option to Purchase, expends funds to erect capital improvements to the
Property, as opposed to expenditures for normal maintenance, the Purchase Price shall be
increased by the amount of funds so expended by Seller and as approved by Buyer following
review of all payment and receipt documentation relating to such capital improvements, which
approval shall not be unreasonably withheld.

         Section 6.     Title. Within ten (10) days after the Notice, Seller shall furnish to Buyer a
Commitment for a Standard Policy of Title Insurance from Guaranty Title, Inc. ("Title
Company") for the Property, including copies of all documents, instruments and matters shown
as exceptions or referenced therein. , Purchaser may object to any matter shown on the Title
Commitment other than exceptions noted on the title policy provided by Buyer to Seller at the
ciosing of the Initial Sale. Unless written objections are made on or prior to the date that is thirty
days (30) from the Effective Date, they shall be deemed waived. If any objections are so made,
S.eller shall cure such objections prior to Closing. If the objections are cured within the time
permitted in the notice, the Closing shall occur as otherwise permitted in this Agreement. If
Seller notifies Buyer that Buyer cannot cure any or all title objections, Buyer may either (i) elect
to waive said objection by notice to seller and proceed to Closing, (ii) notify Seller that it elects
not to proceed to Closing -whereupon this Agreement shall terminate and no longer be binding on
either of the parties hereto, or (iii) proceed to Closing and be allowed to reduce the Purchase
Price by such amounts as are necessary to cure any or all title objections.

        Seller hereby represents and warrants to Buyer, and its successors and assigns, that: the
Property will be conveyed free and clear from all liens and encumbrances, including any leases,
rights or licenses granted to third persons by, through, or under Seller, except taxes not yet
payable, and matters of record in Owyhee County, Idaho, if any; the consummation of this
Agreement will not result in or constitute a default or an event that, with notice or lapse· of time
or both, would be a default, breach or violation of any contract, commitment or arrangement to
which Seller is a party, or by which they are bound; Seller shall not create, permit or suffer any
reservations, restrictions and easements on the Property unless expressly subordinated to Buyer's
rights hereunder; to the best of Seller's knowledge, there is no environmental or physical
condition on the Property which is, or would be, ·a violation of any applicable federal, state or
local law, regulation or ordinance, and that Seller has not received any notice of any
investigation of any such condition or violation; Seller is lawfully seized of the Property, that
Seller has good right and lawful authority to convey the Property.



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         Section 7.     Survey. The Buyer shall have the right to have performed, at Buyer's
  expense, a survey of the property or portions thereof to be completed by an Idaho licensed
  surveyor at any time during the Term hereof

         Section 8.      Inspection; Condition of Property at Closing.

           (a)     Right of Entry. At any time during the Term hereof, Buyer and its employees,
   agents and independent contractors shall have the right to enter the Property from time to time
   upon reasonable prior notice to Seller to inspect the same, perform surveys, environmental
   assessments, soil and other tests and for other investigations and activities consistent with the
   purposes of this Agreement and of Buyer's desire to possibly utilize the Property as the. site of an
   ~lectrical power generating facility. Seller shall reasonably cooperate with Buyer's inspections
.· during the inspection period. Buyer shall restore any damage to the Property caused by such
   inspection and shall indemnify and hold Seller harmless from all liabilities incurred by Seller and
   arising out of any such entry, except that Buyer shall not have any obligation in respect of any
   Hazardous Materials discovered about the Property. The foregoing indemnity shall. survive
   termination of this Agreement. Hazardous Material are defined as any substance, chemical,
   waste or material that is or becomes regulated under applicable law because of its toxicity,
   infectiousness, radioactivity, explosiveness, ignitability, corrosiveness or reactivity, including
   asbestos, polychlorinated biphenyls, nuclear fuel or materials, radioactive materials, explosives,
   known carcinogens, petroleum products and by-products and any substance, chemical, waste or
   material regulated by any Hazardous Material Law.· Hazardous Material Laws include but are
   not limited to the Comprehensive Environmental Response, Compensation, and Liability Act of
   1980, the Super.fund Amendments and Reauthorization Act of 1986, the Resource Conservation
   and.Recovery Act, the Toxic Substances Control Act, as such acts may be amended from time to
   time, and any other Federal, state, county, municipal, local or other law, statute, code, ordinance,
   rule or regula1i.on which relates to or deals with human health or the environment in the
   jurisdiction in which the Property is located. Between Seller's execu1i.on of this Agreement and
   the Closing, Seller shall maintain the Property as an agricultural farming operation in a manner
  .consistent with past practices, reasonable wear and tear and damage or destruction by casualty or
   condemnation excepted. Seller shall not enter into any new leases or contracts, or any material
   amendment of any lease or contract, to the extent such contract, lease or amendment would bind
   Buyer aftei: the Closing without obtaining Buyer's prior written consent thereto, which cons~nt
   shall not be unreasonably withheld or delayed. If Buyer does not object by written notice to
   Seller within five (5) business days after Seller's written request for any consent, such lease,
   contract or amendment shall be deemed to have been approved by Buyer.

        (b)     Condition of Property at Closing. Seller shall deliver the Property to Buyer at
 Closing in a condition consistent with the representation and warranties in this Agreement.

         Section 9.      Closing.

         (a)     Closing Date. The closing of the purchase of the Property ("Closing") shall be
 held at the offices of the Title Company, or at such other place as Seller and Buyer may agree
 within sixty (60) days after the date of exercise of the Option.




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       (b)     Closing Deliveries by Seller. At the Closing, Seller shall execute and, where
appropriate, aclmowledge, and/or deliver to Buyer following:

               i.     A Warranty Deed to the Property

               ii.    Legal and actual possession of the Property

               iii.    Such other instruments and matters as the Title Company may require as a
                       condition to issuing its policy of title insurance. ·

               iv.     Affidavit stating that Seller is not a "foreign person" within the meaning
                       of Section 1445 of the Internal Revenue Code of 1986.

               v.      All water rights transfer documents

        (c)     Seller's Right to Remove Growing Crops. Seller shall have the right to remove
any and all growing crops on that portion of the subject property to be purchased hereunder or, in
the alternative, Buyer may elect to reimburse Seller for any documented costs incurred in the
grmving of such crops.

        ( d)  Payment of Purchase Price. At Closing, Buyer shall pay the Purchase Price to
Seller. The Purchase Price may be paid by certified or bank cashier's check or by wire transfer
of immediately available funds.

       (e)     Closing Adjustments. The following adjustments shall be made at the Closing:

               i. ·   General real estate taxes in respect of the Property due and payable in the
                      year of Closing shall be prorated on a daily basis as of the Closing Date,
                      with Seller responsible for those allocated to the period prior to the
                      Closing Date and Buyer responsible for those allocable .subsequent
                      thereto.

               ii.     Seller shall pay all title charges for the issuance of the Owner's Title
                       Commitment, the premium for an owner's title insurance policy for the
                       Property.
                                    .                               .

               iii.    Any Closing or escrow fee payable to the Title Company shall be borne
                       equally by Seller and Buyer.

               iv.     Each party will pay their own attorney fees and real estate commissions
                       will be allocated in accordance with the prior mutual agreement of the
                       realtors.

               v.       Buyer shall pay all recording and transfer fees to include the transfer of
                      . water rights.




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 If any of the amounts to be apportioned under this Section cannot be calculated with complete
 precision because the amount or amounts of one or more items included in such calculation are
 not then known, such calculation shall be made on the basis of reasonable estimates of Seller and
 Buyer, subject to prompt adjustment (by additional payment by Buyer to Seller or by refund
 from Seller to Buyer) when the amount of any such item becomes 1-iown. The obligations under
 this Section shall survive the Closing.

        Section 10. FIRPTA. Seller represents and warrants to Buyer that Seller is not a
 "foreign person" as defined in IRC · Section 1445, as amended, and the regulations issued
 thereunder ("Code Withholding Section").

        Section 11. General Representations and Warranties of Buyer:                   Buyer hereby
 represents and warrants to Seller as follows:

         (a)     That no consent, approval or authorizaiion by an individual or entity or by any
 court, administrative agency or other governmental authority is required in connection with the
 execution and delivery by Buyer of this Agreement or any other documents required to be
 executed or delivered by Buyer pursuant hereto, or the consummation of the transactions
 contemplated thereby. The consummation of the transactions contemplated hereby will not
 result in any breach of, nor constitute a default under, any mortgage, deed of trust, ·lease, bank
 loan, or credit agreement or other instrument to which Buyer is a party, or by which Buyer is
 bound or affected.

          (b)      That the signatories of this Agreement on behalf of Buyer have full legal authority
_ t9. ~~ecute the same and to bind Buyer thereby, without the necessity of any further ac1ion, and
  that Seller is entitled to rely thereon.

        Section 12. Indemnification. Buyer hereby indemnifies and agrees to hold Seller
 harmless from and against any liability arising from personal injury, death or property damage
 when such is caused by Buyer's ac1ions on the Property during the Term, provided that nothing
 herein shall relieve Seller from and against such liabilities for his own negligence or for the
 negligence of persons or entities acting as agents of Seller.

         Section 13. Broker. To the extent any person or entity asserts a claim for any
 commission, fee or other consideration by reason of the transaction contemplated hereunder,
 which such claim is based upon statements or conduct of a party to this transaction, then that
 party shall indemnify and hold harmless the other party to this Agreement from any and all costs
 (including attorney fees) or award resulting from such claim.

         Section 14. Assignment. The rights of Buyer hereunder may not be assigned without
 the prior written consent of Seller, which consent shall not be unreasonably withheld, excepting,
 that Buyer may freely assign its rights hereunder to an affiliate, subsidiary or parlner. The
 provisions of this Agreement shall inure to the benefit of and bind all successors in interest of
 Seller and Buyer taking the rights so assigned.




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        Section 15.     Buyer Default; Termination. Failure by Buyer to perform or comply .
 with any term; provisions or conditions, express or implied, hereunder shall constitute a default
 Any default by Buyer under this Agreement must be cured within ten (10) business days after
 Buyer receives notice of such default from Seller. In the event Buyer fails to timely cure a
 default, Seller 111ay terminate this Agreement by delivering to Buyer written notice of such
 termination.

         Buyer may terminate its rights under this Agreement at any time prior to the exercise of
  its Option by giving Seller written notice of Buyer's intent to terminate. If Buyer elects to
· terminate prior to the exercise of the Option, all rights of Buyer to the Property shall cease, and·
  this Agreement will immediately be null and void. Seller shall retain all consideration paid by
  Buyer under the Agreement. Buyer shall not be required to make any further payments or
  perform any further obligations hereunder.             ·

         Section 16. Taxes. Subject to pro-ration at Closing, Seller agrees to pay, when due,
 all taxes and assessments against the Property and all taxes resulting from S~ller' s use thereof

          Section 17. Notice. Any notice required or desired to be given under this Agreement
  shall be in writing and shall become effective when personally served upon the party to be given
  such notice, within five (5) days of posting by certified or registered mail, return receipt
· requested, or when delivered by facsimile or other wire service. Until notified otherwise in
  writing, the addresses for such notices shall be:

         Seller:                c/o Lance Funk
                                3853 Rast Road
                                American Falls, ID 83211

        Buyer:                  James C. Hilliard
                                3275 West 111 th Drive
                                Westminster, CO 80031

         With a copy to:        David B. Lincoln, Esq.
                                Moffatt, Thomas, Barrett, Rock & Fields, Chtd.
                                101 S: Capitol Blvd., 10th Floor
                                P. 0. Box829
                                Boise, Idaho 83701
                                Office: (208) 345-2000
                                Fax:. (208) 385-5384

         Section 18. Binding Effect. All covenants, conditions and terms of this Agreement
 shall be of benefit to and run with the Property· and shall bind and inure to the benefit of the
 parties hereto, their respective heirs, assigns and successors. Nothing herein shall be construed
 to create, expressly ot by implication, a partnership, joint enterprise, principal and agent, or the
 like, between the parties. The terms of this Agreement, to the extent they are in addition to, and
 not in conflict with, the Deed, shall survive Closing.




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                                 Sedion 19. - Headings.       The sec1ion headings herein have been inserted for
                         convenience of reference only and shall not modify or restrict any of the terms or provisions
                         hereof. . Unless otherwise expressly provided, or unless the context shall. otherwise require,
                         words importing the singular shall include the plural and words importing the masculine. gender
                         shall include the feminine gender, and vice versa.

                                  Section 20. Entire Agreement. This Agreement integrates the complete and final
                          agreement of the parlies, superseding all negotia1ions, prior discussions, and prior agreements
                          and understandings related to such subject matter. Any waiver of the covenants, condiw.ons,
                        \ warranties or obligations contained herein or amendment of this Agreement must be in writing,
                          dated subsequent to the Effective Date, and signed by each of the parties. This Agreement may
                          be executed in any number of counterparts, each of which shall be deemed to be an original, but
                          all of which shall constitute the same Agreement. No modifica1ion of this Agreement shall be
                          valid or binding unless such modifica1ion is in writing, duly dated and signed by all parties.

                                  Section 21. Severability. If any term, provision, covenant or condition of this
                         Agreement'is held to be invalid, void or otherwise unenforceable, to any extent, by any court of
                         competent jurisdiction, the remainder of -this Agreement shall not be affected thereby, and each
                         term, provision, covenant or condition of this. Agreement shall be valid and enforceable to the
                         fullest extent permitted by law.

                                 Section 22. · Governing Law. This Agreement is to be governed by and construed ·
                         under the laws of the State of Idaho and each of the parties hereto irrevocably attorns to the
                         jurisdiction of the courts of Idaho for adjudication of rights,. obligations and interests arising
.   ~   '   .. -   ..    p~.u;~uant to this Agreement. Any provision of this Agreement prohibited by the laws of the
                         United States or the State of Idaho shall be ineffective to the extent of such prohibi1ion without
                         invalidating the remaining provisions of this Agreement.

                                Section 23. Tax Deferred Exchange. Each party agrees to cooperate in any tax
                         deferred exchange requested by the other party, at the sole cost and expense of the party
                         requesting the exchange.

                                 Section 24. · Further Assurances. Buyer and Seller hereby covenant to do and
                         perform all such acts as are necessary, desirable or requested by another party to give full effect
                         to the provisions of this Agreement.

                                 Section 25. Costs; Fees. In any suit, ac1ion or appeal therefrom to enforce this
                         Agreement or any term or provision hereof, or to interpret this Agreement, the prevailing party
                         shall be entitled to recover its costs incurred therein, including reasonable attorneys' fees. The
                         prevailing party will be that party who was awarded a judgment as a result of trial or arbitration,
                         or who receives a payment of money from the other party in settlement of claims asserted by that
                         party.

                                Section 26. Time of the .Essence.        Time is of the essence of this Agreement and
                         performance hereunder.




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        Section 27. · Recording. The parties agree that this Agreement, or a memorandum
thereof, shall be executed, acknowledged arid recorded in the official records of Owyhee County,
Idaho.

        Section 28. Counterparts. This Agreement may be executed in two or more
counterparts each of which shall be deemed an original of this Agreement and which together
shall constitute but one and the same instrument. Facsimile or e-mail transmission of any signed
original document and retransmission of any signed facsimile or e-mail transmission shall be the
same as the delivery of an original. At the request of· either party, the parties will confirm
facsimile or e-mail transmitted signatures by signing an original document.

      THE PARTIES, IN1ENDING TO BE LEGALLY BOUND, have executed this
Agreement effective the day aud year first above written.

                                            SELLER:

                                            MURPHY LAND COMPANY, LLC




                                            Lance Funk; Member



                                            Frank Tiegs, Member
  ';   '   -~




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               Section 27. Recording. The. paities agree that this Agreement, or a memorandum
       thereof, shall.be executed, acknowledged and recorded in the official records of Owyhee County,
       Idaho.

               Section 28. Counterparts. This Agreement may be exe.outed in two or .more
       counterparts each of which shall be deemed an original of this Agreement and which tqgether
       shall constitute but one and the ·same lnstrument. Facsimile or e-mail transmission of any signed
       original document and retransmission of any signed facsimile or e-mail transmission shall be the
       same as the delivery of an original. At the request of eitber party, the paiiies· will confirm
       facsimile or e-mail transmitted signatures by signing an original document.

             TBE PAR1IE.S, INTENDING TO BE LEGALLY BOUND, have execU;ted this
       Agreement effective the day and year fii-st ab.ove written.

                                                   SELLER:
                                                   MURPHY LAND-COMPANY, LLC




                                                   .Lance Funlc, Member



                                                   Frank Tiegs, Merriber
: _...:•7•, - •.

                                                   BUYER:



                                                   James C. Hilliard, by James W. Hilliard, his
                                                   attomey in fact




     REAL E;~'l',\.TE QP'.fJON: '.1'0 PURCHASE AGREEMENT- 8
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        Section 27. Recording. The parties agi:ee that this Agreement, or a memorandum
thereof, shall be executed, acknowledged and recorded in the official records of Owyhee County,
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original document and retransmission of any" signed facsimile or e-mail transmission shall be the
same as the delivery of an original. At the request of either party, the parties wili confirm
facsimile or e-mail transmitted signatures by signing an original document.

      THE PARTIES, INTENDING TO BE LEGALLY BOUND, have executed this
Agreement effective the day and year first above written.

                                             SELLER:
                                             MURPHY LAND COMPANY, :u. .c




                                             BUYER:



                                             James C. Hilliard, by James W. Hilliard, his
                                             attorney in fact         ·




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                                                                    EXHIBIT "A"

                                                                    "PROPERTY"
     PARCEL NO. 1:
     In Townsl1ip 5 South, Range 4 East, B.M., Owyhee County, Idaho
     Section 36:                           East Half; the Northwest Quarter, the North Half of the Southwest Quarter

     P.~CELNO.2:
     In Township 5 South, Range 4 East, B.M., Owyhee County, Idaho
     Section 24:    · East Half of the Southwest Quarter, the West Half of the Southeast Qmi1ter
     Section 25:      North Half of the Northwest Quarter
     Section 26:      East Half of the Northeast Quarter

      PARCEL NO. 3.:
      In Township 5 South, Range 4 East, B.M., Owyhee County, Idaho
    · Section 25:       South Halfofthe Northwest Quarter, the North Half of the Southwest Quarter, the Southeast Quarter
      of the Southwest Quarter

     PARCELNO.4:
     In Township 5 South, Range 4 East, B.M., Owyhee County, Idaho
     Section 25:      South Half of the Southeast Quarter
     ,.
     \

     1h Township 5 South, Range 5 East, B.M., Owyhee County, Idaho
     Section 30:                           Government Lots IO and 11
     Section 31:                           Government Lots 1, 2, and 3, the North Half of the Northeast Quarter

      P.AllGEL.NO. 5:
      fu Township 5 South, Range 5 East, B.M., Owyhee County, Idaho
      Section 28:       Southwest Quarter ofthe Southeast Quarter, Southeast Quarter ofthe Southwest Quarter, South Half
      of the Northeast Quarter of the Southwest Quarter of the Southwest Quarter, East Half of the West Halfof the Southwest
      Quarter of the Southwest Quarter of the Southwest Quarter, East Half of the Southwest Quarter of the Southwest Quarter
      of the Southwest Quarter, Southeast Quarter of the Southwest Quarter of the Southwest Quarter
 -.. ?Section 31:       Government Lots 5, 6, and 7, South Half of the Northeast Quater, North Half cifthe Southeast Quarter
      Section 32:       Northeast Quarter, East Half of the Northwest Quarter, Northwest Quarter of the Northwest Quarter,
      Southwest Quarter of the Nortbwest Quarter, North Half at he Southeast Quarter, South Half of the Southeast Quarter
      Section 33:       Northwest Quarter of the Nmtheast Quarter, North Halfoftbe Northwest Quarter, North Halfofthe
      North Halfofthe Southwest Quarter of the Northeast Quarter, Southwest Quarter of the Northwest Quaiter, North Half
      of the North Halfofthe Southeast Quarter of the Northwest Quarter

     In Township 6 South, Range 5 East, B.M., Owyhee County, Idaho
     ~ection 4:       South Half of the Northwest Quarter, Southwest Quarter
     ·~ec.tiqq 5: ·.      Government Lots 1, 2, and 3, South Half of the Northeast Quarter, Southeast Quarter of the
      NP.r:thwest Quarter, Northeast Quarter of the Southeast Quarter, North Half of the Southwest Quaiter ofthe Southeast
      Quarter of the Southeast Qumter, North Half of the Southeast Quarter of the Southeast Quarter, Southeast Quarter of the
      ~outheast Q1;1arter of the Southeast Quarter
                                                                                                                                          '·
             PARCEL6:
             In Township 5 South, Range 5 East, B.M,, Owyhee County, Idaho
             Section 31:      Government Lots 11 and 12, Southwest Quarter of the Southeast Quarter


          In Township 6 South, Range 5 East, B.M., Owyhee County, Idaho
         :Section 5; ·      Government Lot 4, Southwest Quarter qfjhe Northwest Quarter, North Half of the Southwest Quarter
         )Section
         l·
                   6:
                • ..
                            Government Lots 1, 2, 3 ahd 4, Southeast Quarter of the Northeast Quarter, _Southwest Quarter of the
         ;Northeast Quarter, Southeast Quarter of the Northwest Quarter, North Half of the Southeast Quarter
             •        :•   •       •   I                                                ,


         \       •   ,.    •   I       •

         .PARCEL?:
         :t{ Township 5 South, Range 5 East, B.M., Owyhee County, Idaho
          Section 19:      Southeast Quarter          ·
          Section 30:      Northeast Quarter
EXHIBIT A
                                                                                                                       Client:1853061.1
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